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                     IN THE UNITED STATES COURT OF APPEALS

                             FOR THE ELEVENTH CIRCUIT
                               ________________________

                                   No. 20-13024-GG
                               ________________________


SISTERSONG WOMEN OF COLOR REPRODUCTIVE JUSTICE COLLECTIVE,
FEMINIST WOMEN'S HEALTH CENTER,
PLANNED PARENTHOOD SOUTHEAST, INC.,
ATLANTA COMPREHENSIVE WELLNESS CLINIC,
ATLANTA WOMEN'S MEDICAL CENTER, et al.,

                                                  Plaintiffs - Appellees,

versus

GOVERNOR OF THE STATE OF GEORGIA,
in his official capacity ,
CHRISTOPHER MICHAEL CARR,
Georgia Attorney General, in his official capacity
KATHLEEN TOOMEY,
Georgia Commissioner for Department of Public Health,
in her official capacity,
JOHN S. ANTALIS,
M.D.,
GRETCHEN COLLINS,
M.D.,
DEBI DALTON,
M.D.,
E. DANIEL DELOACH,
M.D.,
CHARMAINE FAUCHER,
PA-C,
SHAWN M. HANLEY,
C.F.S.P.,
ALEXANDER S. GROSS,
M.D.,
THOMAS HARDIN, JR.,
M.D.,
JUDY GARDNER,
C.F.A.,
MATTHEW W. NORMAN,
M.D.,
        Case 1:19-cv-02973-SCJ Document 159 Filed 11/08/21 Page 2 of 3
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DAVID W. RETTERBUSH,
M.D.,
ANDREW REISMAN,
M.D.,
JOHN JEFFREY MARSHALL,
M.D.,
BARBY J. SIMMONS,
D.O.,
RICHARD L. WEIL,
M.D., Members of the Georgia Composite Medical Board,
in their official capacities,
LASHARN HUGHES,
M.B.A., Executive Director of Georgia Composite Medical Board,
in her official capacity,
MARK JONES,
District Attorney for the Chattahoochee Judicial Circuit,
in her official capacity ,
FLYNN BROADY, JR.,
Acting District Attorney for the Cobb Judicial Circuit,
in her official capacity,
PATSY AUSTIN-GATSON,
District Attorney for the Gwinnett Judicial Circuit,
in his official capacity ,
SHALENA COOK JONES,
District Attorney for the Eastern Judicial Circuit,
in her official capacity,
FANI T. WILLIS,
District Attorney for Fulton County,
in her official capacity,


                                                  Defendants - Appellants,

SHERRY BOSTON,
District Attorney for DeKalb County,
in her official capacity,

                                                  Defendants.




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                       Appeal from the United States District Court
                          for the Northern District of Georgia
                             ________________________

ORDER:

      Emily B. Nestler’s motion to withdraw as counsel for Appellees Feminist Women’s

Health Center and Columbus Women’s Health Organization is GRANTED.


                                                                          DAVID J. SMITH
                                                          Clerk of the United States Court of
                                                            Appeals for the Eleventh Circuit

                                          ENTERED FOR THE COURT - BY DIRECTION




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